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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                           BIG STONE GAP DIVISION

 WILLIAM THORPE, et al.,
                       Plaintiffs,
              v.                              CASE NO. 2:20-cv-00007-JPJ-PMS
 VIRGINIA DEPARTMENT OF
 CORRECTIONS, et al.,

                       Defendants.


                                      ORDER

        This matter is before the undersigned on the following motions, which were
  heard by telephone conference call on February 7, 2023:
        1.     Plaintiffs’ Motion To Amend Scheduling Order, (Docket Item No.
              249) (“Motion to Amend”); and
        2.    Defendants’ Motion For Leave To Depose By Oral Examination Each
              Of Plaintiffs (Docket Item No. 232) (“Motion to Depose”).
        Based on the arguments and representations of counsel, it is ORDERED as
  follows:
        1.    The Motion to Amend is GRANTED, only insofar as the following
              deadlines are extended as set out below:


                          Event                                 Date

        Fact Discovery Depositions Only                     April 14, 2023

         Plaintiffs’ Expert Reports Due                     May 19, 2023

        Defendants’ Expert Reports Due                      June 19, 2023

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     Plaintiffs’ Rebuttal Expert Reports Due                  July 19, 2023

            Close of Expert Discovery                        August 4, 2023

      Dispositive Motions and Motions to
                                                           September 8, 2023
        Exclude Expert Testimony Due

     Response to Dispositive Motions and
                                                            October 5, 2023
   Motions to Exclude Expert Testimony Due

   Reply to Response to Dispositive Motions
   and Motions to Exclude Expert Testimony                  October 19, 2023
                     Due


       2.     The deadline for service of written discovery requests closed on
              January 29, 2023, and is not extended by this Order;
       3.     The Motion to Depose is GRANTED, and counsel for the defendants
              shall be allowed to depose by oral examination the named plaintiffs,
              Vernon Brooks, Brian Cavitt, Derek Cornelison, Frederick Hammer,
              Dmitry Khavkin, Steven Riddick, Kevin Snodgrass, Gary Wall, Gerald
              McNabb, Peter Mukuria and William Thorpe, at a date and time to be
              coordinated with the facility where each plaintiff is incarcerated;
       4.     Counsel for the parties shall confer and, within seven days of the date
              of entry this Order, provide the court with a schedule of the dates, times,
              locations and methods of the named plaintiffs’ discovery depositions;
       5.     Counsel for the plaintiffs shall, within 10 days of the date of entry of
              this Order, provide the court and counsel for the defendants with a
              proposed schedule of the date, time, location and method for
              preparation of each of the named plaintiffs for their discovery
              depositions; and



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       6.    Defense counsel shall coordinate allowing plaintiffs’ counsel
             reasonable access to their incarcerated clients to prepare for their
             discovery depositions, including allowing counsel up to seven hours to
             confer with each client prior to the client’s deposition date; Defense
             counsel shall further coordinate allowing plaintiffs’ counsel to possess
             all necessary legal documents and materials and/or equipment to
             properly prepare their clients for their deposition testimony.


       IT IS SO ORDERED.

       ENTERED: This 7th day of February, 2023.

                                       /s/   Pamela Meade Sargent
                                             UNITED STATES MAGISTRATE JUDGE




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